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AMENDED SETTLEMENT AGREEMENT, RELEASE
OF CLAIMS AND COVENANT NOT TO SUE

up 'l‘his Amended Settlement Agreement is made and entered into on this the
__:day of , 2013, by and between Richard Ballew, and all of
his heirs, executors, administrators successors and assigns on the one hand
(“Employee”) and Phoenix Solutions, Inc. and each of its assigns, parent companies,
subsidiary companies, commonly owned or controlled companies, officers, directors,
shareholders insurers, employees and agents (“Phoenix”), and Richard A- Scruggs,
and each of his heirs, executors, administrators successors, insurers and attorneys
(“Scruggs”) (Phoenix and Scruggs will be referred to collectively as “Parties of the
Second Part”) on the other hand. Employee and Parties of the Second Part may be
sometimes referred to herein as “the Parties.”

W I T N E S S E 'I` H
WHEREAS, Employee was previously employed by Phoenix; and

W'HEREAS, Employee’s employment With Phoenix terminated on September
9, 2011, and

WHEREAS, Employee has filed suit in the United States District Court for
the Middle District of Georgia, Civil Action No_ 3:12-CV-69 (CAR) (“Litigation”)
claiming that the Parties of the Second Part owe him compensation under the Fair
Labor Standards Act (“FLSA”) and the Parties of the Second Part retaliated against
him in violation of the FLSA; and

WHEREAS, the Parties of the Second Part dispute and deny Employee’s
claims and assert that Employee Was not entitled to overtime compensation, that
during his employment With Phoenix, employee was paid all monies to which he
Was entitled under the FLSA and all other applicable laws, and neither of the
Parties of the Second Part collectively or individually otherwise violated any of his
rights or breached any obligation they may have owed to him; and

WHEREAS, the Parties have engaged in extensive settlement negotiations
and have reached the agreement set forth herein.

NOW THEREFORE, for and in consideration of the agreement set forth
herein and other good and valuable consideration the receipt and sufficiency of
which is acknowledged the Parties covenant and agree as follows:

1. Settlement.

(a) Following execution of this Agreement and as specified below, Phoenix,
on behalf of the Parties of the Second Part, shall pay to or on behalf of Employee,
the gross total sum of twenty one thousand dollars and no cents ($21,000.00)

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(“Settlement Payment”) as full and final settlement of any and all matters and
disputes between Employee and the Parties of the Second Part, collectively and
individually, up to the date of this Agreement. The Settlement Payment shall be
paid by checks delivered to Employee’s counsel, as follows:

(i) one check payable to Employee in the gross amount of Two
Thousand dollars and no cents ($2,00(}.00) less legally required withholdings
based on the last form W-4 submitted by Employee to Phoenix, to be reported
by Phoenix as W-2 income to Employee;

(ii) one check payable to Ernployee in the amount of Eleven
Thousand Three Hundred Eighty-One dollars and 25 cents ($11,381.25) to be
reported by Company as 1099-miscellaneous income to Employee; and

(iii) one certihed check payable to Salter Thompson Law, P.C., in the
amount of Seven Thousand Six Hundred Eighteen dollars and 75 cents
($7,618.75) as compensation for all costs and attorneys’ fees Employee may
have incurred in connection with the claims asserted or any other matter
related to the Parties of the Second Part.

(b) The Settlement Payment shall be paid within live (5) days from the
Effective Date of this Agreement as defined in Paragraph 8 below. (c) The
Parties further acknowledge that no portion of the Settlement Payment is for
punitive damages

(d) If the Settlement Payment as provided for in Section 1(a) above, is not
timely paid as provided for in Section 1(b), the Parties of the Second Part shall, in
addition to the Settlement Payment, pay Employee four thousand dollars and no
cents ($4,000.000) (“Supplementary Payment”). The Supplementary Payment shall
be made in one check payable to Employee and it shall be due and payable on the
day following Phoenix’s breach of its obligation to pay the Settlement Payment as
provided for in Section l(b) above.

(e) If the Settlement Payment and, if applicable, the Supplementary
Payment is not paid when due, and if Employee prevails in a legal action against
the Parties of the Second Part, or either of them, for breach of the payment
obligations under this Section 1, Employee shall be entitled to recover reasonable
attorney’s fees and costs from the Parties of the Second Part.

2. Release and Waiver.

(a) Full and Final Settlement of Claims. Employee clearly understands
and expressly represents that this Agreement is being executed and the Settlement
Payment and the other consideration provided for herein is being made as full and
final compensation for all claims against the Company that Employee raised in the
Litigation . The consideration provided for herein is full and Enal compensation for

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all unpaid wages, liquidated damages interest, attorney fees and costs of
litigation.. .

(b) Full Accord and Satisfaction. The Parties agree that the Settlement
Payment described in paragraph 1 above is given in full accord and satisfaction of
all claims for unpaid wages, and related liquidated damages, interest, attorney fees
and costs of litigation that Employee has or may have against the Company.

(c) It is the intention of the Parties that this Agreement be interpreted as
broadly as possible such that the Parties of the Second Part, collectively and
individually, shall have no further obligations or liability of any sort or nature to
Employee, directly or indirectly, for unpaid wages other than as set forth herein.

(d) The Parties of the Second Part collectively and individually make no
representation and provide no guaranty or assurance regarding the tax
consequences to Employee for payment of the Settlement Payment. Except for any
Withholding amounts to be paid by Phoenix as specified in Section 1 above,
Employee (or Employee’s counsel with respect to the payment of costs and
attorneys’ fees) shall be responsible for any and all taxes that may be due as a
result of the Settlement Payment. lt is expressly understood and agreed by
Employee that should the Parties of the Second Part, or either of them individually,
incur tax liability, charges or expenses whatsoever as a result of not making any
such withholdings to the applicable local, state or federal tax agencies, Employee
will indemnify and reimburse the Parties of the Second Part and each of them
individually for such usual and reasonable costs associated with not making
withholdings Said reimbursement shall be made Within thirty (30) days of
Employee’s receipt of reasonable documentation that the Parties of the Second Part
or either of them individually incurred liability, charges or expenses as a result of
not making any withholdings to the applicable tax agency.

(e) The Parties agree that in addition to any other remedies which may be
available to the Parties of the Second Part, collectively or individually, in the event
of a breach of this Section 2 by Employee, the Parties of the Second Part,
collectively and individually, shall be entitled to recover the full damages for said
breach, plus reasonable attorney fees, costs, and expenses in attempting to enforce
the terms of this Agreement.

(f) Employee expressly acknowledges that this release, waiver and
covenant not to sue is made knowingly and voluntarily and with a full
understanding of its terms

3. Dutv to Return Comnanv Pronertv.

(a) Employee represents that all “Company Property” in his possession
has been given to his counsel Within five (5) days of the date the Settlement
Payment has been cleared for payment by Employee’s, or his counsel’s, bank or

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other financial institution, Employee’s counsel shall deliver all such property to
counsel for the Parties of the Second Part at: 507 Plantation Park Drive Loganville,
Georgia 30052. For purposes of this Section, “Company Property” shall include all
originals and copies of documents pertaining to Company’s products, services or
business, all samples of products, and any other tangible item Employee received
from Company or any of its suppliers, prospective suppliers, customers or
prospective customers, in the course of or as a result of Employee’s employment
with Phoenix, as defined above. For purposes of this Section, Company Property
does not include documents Employee may have received reflecting any salary or
other payment made to him, or any benefit provided to him, in the course of or as a
result of his employment with Phoenix.

(b) Ernployee agrees that within live (5) days of the date the Settlement
Payment has been cleared for payment by Employee’s, or his counsel’s, bank or
other financial institution, he shall permanently delete any Company Property (e.g.,
any document or information) stored on any electronic device, including, but not
limited to, any computer, PDA, or cell phone not belonging and returned to
Company.

4. Non-Disparagement.

(a) Employee agrees not to criticize, disparage, or otherwise demean in
any way the Parties of the Second Part, collectively or individually, or any service or
product they may provide.

(b) Phoenix agrees that it will not, by or through its officers, directors, or
agents, including, but not limited to, Scruggs and the other officers of Phoenix,
criticize, disparage, or otherwise demean in any way Employee.

5. No Admission of Liability.

Neither the Parties of the Second Part collectively or individually concede or
admit that, with respect to Employee, they have violated any law, statute,
ordinance, or contract andfor failed as to any duty or obligation whatsoever, or
engaged in any kind of Wrongful conduct. lndeed, the Parties of the Second Part
collectively and individually specifically deny that they have engaged in any such
conduct. The Parties of the Second Part enter into this Agreement solely in the
interest of avoiding additional costs which would result from litigation, and
Employee acknowledges that the consideration described in this Agreement is
adequate and sufficient and represents a full and complete settlement of any and all
claims and/or rights as more fully described herein

6. Future Employment.

Employee agrees that he will not apply for or otherwise seek employment
with Phoenix, any of its affiliated entities, or any entity in which either Phoenix or

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Scruggs have any ownership or managerial intereSt, and that neither Phoenix, nor
any of its affiliated entities, or any entity in which either Phoenix or Scruggs have
any ownership or managerial interest have any obligation contractual or otherwise,
to hire him in the future.

7. General Provisions.

(a) Employee represents warrants, and agrees that he has not, and will
not, assign, convey, or otherwise transfer any interest in any ClaimS Or Other
liabilities or obligations which are the subject of this Agreement. The Parties of the
Second Part may assign their rights under this Agreement.

(b) Except where prohibited by law, Employee represents, Warrants and
agrees that he will not institute, maintain, voluntarily assist in or otherwise
encourage any suit, action, or other proceeding at law, in equity, or otherwise,
against the Parties of the Second Part, either collectively or individually However,
, nothing herein shall prevent Employee from complying with any subpoena or order
provided that Employee, through his attorney, if any, gives the Parties of the
Second Part notice of such subpoena or order immediately upon receipt. The
Parties specifically and expressly agree that this Section does not prohibit
Employee from engaging in any legally protected activity_

(c) Employee acknowledges and agrees that with the payment being made
under this Agreement he will have received all monies to which he may be entitled
under the FLSA, including for minimum wage, overtime, liquidated damages,
interest and attorneys’ fees, as well as for retaliation in violation of the FLSA, and
that with the payment being made herein he is not entitled to any further payment
under the FLSA. Employee further agrees that other than as is expressly provided
for in this Agreement he will not accept any further payment from Phoenix or
Scruggs representing compensation for time worked and that in the event that
Employee should receive any payment from either Phoenix or Scruggs, representing
compensation of any kind under the FLSA as a result of an action or other
proceeding he will immediately assign any and all such monies to Phoenix.

(d) Employee acknowledges and agrees that during his employment with
Phoenix he was provided all leave to which he may have been entitled under the
Family and Medical Leave Act.

(e) Employee represents, warrants, acknowledges and agrees that he did
not incur any workplace injury while employed by Phoenix.

(g) The Parties agree that this Agreement may be executed in
counterparts, each of which shall be deemed to constitute an executed original, even
though not all signatures may appear on the same counterpart

(h) Employee acknowledges that he has read and fully understands the

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terms of this Agreement, with adequate opportunity and time for such review; that
this Agreement has been the result of substantive negotiations in which Employee
was represented by counsel of his choosing; and that he is fully aware of its contents
and of its legal effect. Accordingly, this Agreement shall not be construed against
any party on the grounds that such party drafted this Agreement. Instead, this
Agreement shall be interpreted as though drafted equally by all parties. Employee
enters into this Agreement freely and voluntarily and with a full understanding of
its terms. Employee acknowledges that, except as expressly set forth herein, no
representations of any kind or character have been made to him by the Parties of
the Second Part, or either of them, to induce execution of this document Employee
further states that the only representations made to him in order to obtain his
consent to this Agreement are stated herein and that he is signing this Agreement
voluntarily and without coercion, intimidation or threat of retaliation

(i) This Agreement embodies the entire understanding of the Parties and
all of the terms and conditions with respect to the matters discussed herein; it
supersedes and annuls any and all other or former agreements contracts, promises
Or representations whether written or oral, expressed or implied, made by, for, or
on behalf of the Parties of the Second Part collectively and each of them
individually, and it may not be altered, superseded, or otherwise modified except in
writing signed by the party to be charged. The Parties specifically agree that this
Agreement replaces and supersedes the previous Settlement Agreement dated
February 27, 2013_

All executed copies of this Agreement are duplicate originals, equally
admissible as evidence

(j) Failure by any party to enforce any of the remedies provided to it in
this Agreement shall not be deemed a waiver of those rightsl

(k) The party representative executing this Agreement On behalf cf
Phoenix warrants that he is the duly authorized representative of Phoenix, and is
fully empowered to execute this Agreement on behalf of the company.

(l) This Agreement shall be construed in accordance with the laws of the
State of Georgia. If any provision of this Agreernent is for any reason held to be
invalid or unenforceable, such provision shall not affect any other provision hereof,
but this Agreement Shall be construed as if such invalid and/or unenforceable
provision had never been contained herein.

(m) Any action to enforce this Agreement must be brought in the State or
Superior Court of Walton County, Georgia or the United States District Court for
the Middle District of Georgia as appropriate and all of the Parties consent to the
jurisdiction and venue of those courts.

(n) Should any part of this Agreement be rendered or declared invalid by a

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court of competent jurisdiction, such invalidation of such part or portion of this
Agreement should not invalidate the remaining portions hereof, and they shall
remain in full force and eHect.

(e) Except as may be expressly stated otherwise, all notioes,
correspondence and other matters to be sent should be sent to the parties as follows:
(1) to Employee Richard Ballew, 407 Winston Manor Dr., Winder, GA 30680-2292
with a copy to counsel for Employee as follows: Amanda S. Thompson, Salter
Thompson Law, P.C., 3535 Piedmont Road NE, Bujlding 14, Suite 410, Atlanta, GA
30305; and (2) to the Parties of the Second Part at the address set forth in Section 3
above, with a copy to counsel for Parties of the Second Part as follows: Danette
Joslyn-Gau], Esq., of Wimberly, Lawson, Steckel, Schneider & Stine, P.C., 3400
Peachtree Road, N.E., Suite 400, Atlanta, Georgia 30326.

8. Date.

The Effective Date of this Agreement will be the day the Court provides
notice to the Parties that it has approved and entered this Agreement.

 

This Is A Release
Read Before Signing
RICHARD BALLEW PHOENIX SOLUTIONS, INC.
y _ f By: Richard A. Scruggs
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Date: 5-”'3?"§0)3 A£Z\

Date: § é" ij

 

 

 

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Date: F’¢’/'$

 

 

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